mm Case 2:97-cr-20189-BBD Document 33 Filed 07/20/05 Page 1 of 3 Page|D 6
UNITED sTATEs msch CoURr mfg BY 7 % D'c_

for

WESTERN DISTRICT OF TEN§ESSEE 05 JUL 20 AH 6: wl
C;`?- 510 18 °r

Petition on Probation and Superviscd Release

U.S.A. vs Howard Pgtrick

 

COMES NOW Lorin J Smith, PROBATION OFFICER OF THE COURT presenting an official report upon the
conduct and attitude of nggr£l_ Patrigl_c, who was placed on supervision by the Honorable B§mice B. !Lnald sitting
in the Court at Memphi§, Tenn§ssee, on the _1_"_ day of __A_p_rg, _1_2_9__8_, who fixed the period of supervision at three 151
years*, and imposed the general terms and conditions theretofore adopted by the court and also imposed special
conditions and terms as follows:

 

l) The Defendant shall receive mental health treatment as directed by the Probation Office.
2) The Defendant shall maintain employment

*Supervision began June 4, 2005.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Mr. Patrick was convicted of Sexual Exploitation of a Minor. He has completed his seventy eight (78) month term of
incarceration and has begun his supervision in the Northem District of Georgia. During his time of incarceration Mr.
Patrick did not participate in sexual offender treatment of counseling The United States Probation Office of the
Northem District of Georgia has requested modification of the Special Conditions to require sexual offender
assessment, treatment and counseling as well as a condition allowing for search and seizure. On July l, 2005 Mr.
Patrick signed a Probation From 49, Waiver of Hearing to Modify the Conditions of Supervised Release or Extend
Term of Supervision, agreeing to the following special conditions : l.) The defendant shall submit to a search of his
person, property, real or personal, residence, place of business or employment and/or vehicle(s) at the request of the
Untied States Probation Oflicer. The defendant shall permit confiscation andlor disposal of any material considered
contraband or any item which may be deemed to have evidentiary value related to violations of supervision 2) The
defendant shall participate in the mental health aftercare program including a psychosexual evaluation and counseling
if deemed necessary and comply with the conditions of the sex offender contract under the guidance and supervision
fo the U.S. Probation Officer. If able, the defendant shall be required to contribute to the cost of services for such
treatment

PRAYING THAT THE COURT WILL ORDER that the special conditions of Mr. Howard Patrick’s Supervised
Release be modified include the aforementioned conditions
ORDER OF COURT

Considered and ordered jus g Day
of 20@}_, and ordered filed
and dc a art of the records in the above

/ v " /

case. Lo '
z y U%;tion Officer
m/@( Place: M§l;n_phjs, ignessee

Un' ed States bisuict Judge

 

 

 

  

Date: Julv i3. 2005

Thls document entered on the docket sheet ln com llance
with nine ;,.:<. arm/or sam rach en 7' ' §

;§§9';€§3@ 2:97-cr-20139-BBD Documem 33 Filed 07/20/05 Page 2 of 3 PagelD 7
UNITED STATES DISTRICT COURT

for

WESTERN DISTRICT OF TENNESSEE

Waiver of Hearing to Modify Conditions
of Supervised Release or Extend Term of Supervision

Ihave been advised and understand that I am entitled by law to a hearing and assistance of counsel
before any unfavorable change may be made in my Conditions ofSupervised Release or my period of
supervision being extended By “assistance ofcounsel,” l understand that Ihave the right to be represented
at the hearing by counsel of my own choosing if l am able to retain counsel I also understand that I have
the right to request the court to appoint counsel to represent me at such a hearing at no cost to myself if I
am not able to retain counsel of my own choosing

I hereby voluntarily waive my statutory right to a hearing and to assistance ofcounsel. I also agree
to the following modification of my Conditions of Supervised Release or to the proposed extension of my
term of supervision:

The defendant shall submit to a Search of his person, property, real or personal, residence, place of
business or employment and/or vehicle(s) at the request of the United States Probation Officer. The
defendant shall permit confiscation and/or disposal of any material considered contraband or any other item
Which may be deemed to have evidentiary value related to violations of supervision

The defendant shall participate in the mental health anercare program including a psychosexual evaluation
and counseling if deemed necessary and comply with the conditions of the sex offender contract under the
guidance and supervision of the U.S. Probation Ofticer. If able, the defendant shall be required to
contribute to the cost of services for such treatment

Signed: Witness:

eé/MA»M vw 67- §€ov-w

I-Ioward A. Patrick Sandra S. Glover
Supervised Releasee Sr. U. S. Probation Officer

Date: ?/////.O_<"'

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case 2:97-CR-20189 Was distributed by fax, mail, or direct printing on
July 20, 2005 to the parties listed.

 

 

Dan Nevvsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

